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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

 JANE DOE,                                      )
                                                )
        Plaintiff,                              )
                                                )
  v.                                            )     Civil Action No. 7:21-cv-00072
                                                )
 TOWN OF BLACKSBURG, SHAUN                      )     By: Elizabeth K. Dillon
 CHUYKA, and BRANDON FRETWELL,                  )         United States District Judge
                                                )
        Defendants.

      ORDER DENYING MOTION TO PROCEED UNDER A PSEUDONYM,
  GRANTING IN PART, DENYING IN PART, AND TAKING UNDER ADVISEMENT
                     IN PART MOTION TO DISMISS

       On April 13, 2021, the court held a hearing on plaintiff’s motion to proceed under a

pseudonym (Dkt. No. 2) and defendants’ motion to dismiss. (Dkt. No. 7.) For the reasons stated

on the record at the hearing, it is HEREBY ORDERED as follows:

       1.      Plaintiff’s motion to proceed under a pseudonym (Dkt. No. 2) is DENIED;

       2.      Defendants’ motion to dismiss (Dkt. No. 7) is GRANTED in part, DENIED in

part, and TAKEN UNDER ADVISEMENT in part;

       3.      Defendants’ motion to dismiss is GRANTED as to plaintiff’s claims against

defendant Town of Blacksburg. Plaintiff’s state law claim for respondeat superior liability

(count III) against Town of Blacksburg is DISMISSED WITH PREJUDICE. Plaintiff’s federal

claim for Monell liability against Town of Blacksburg is DISMISSED WITHOUT PREJUDICE;

       4.      Defendants’ motion to dismiss is GRANTED as to plaintiff’s excessive force

claim (count I) against defendant Brandon Fretwell. This claim is DISMISSED WITHOUT

PREJUDICE;
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       5.      Defendants’ motion to dismiss is GRANTED as to plaintiff’s claims against

defendants Fretwell and Shaun Chuyka for intentional infliction of emotional distress (count III).

These claims are DISMISSED WITHOUT PREJUDICE;

       6.      Defendants’ motion to dismiss is GRANTED as to plaintiff’s claim against

defendant Chuyka for assault (count III). This claim is DISMISSED WITHOUT PREJUDICE;

       7.      Defendants’ motion to dismiss is DENIED as to plaintiff’s request for punitive

damages;

       8.      Defendants’ motion to dismiss plaintiff’s claim for false imprisonment/false arrest

against defendant Chuyka (count III) is TAKEN UNDER ADVISEMENT;

       9.      Plaintiff has 21 days to file any motion for leave to amend with a proposed

amended complaint;

       10.     Plaintiff is directed to file the complaint with the plaintiff named in the caption

within 7 days; and

       11.     Any defendant that has filed an answer is not required to file another answer to

the complaint naming the plaintiff.

       The clerk is directed to provide a copy of this order to all counsel of record.

       Entered: April 13, 2021.




                                              /s/ Elizabeth K. Dillon
                                              Elizabeth K. Dillon
                                              United States District Judge




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